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                            EXHIBIT

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  From: Staci Vetterling SVetterling@hartlinebarger.com
Subject: Re: [EXTERNAL] Re: Safety Vision v. LEI
   Date: May 20, 2023 at 3:12 PM
     To: Patrick McGettigan pmcgettigan@inhousegc.com
    Cc: Mysti Pride mpride@inhousegc.com

       Correct, I cannot confirm the depo for Monday. I will work on a new date asap. I’m good to agree to extend discovery period to 6/30.

       Thanks,
       Staci

       Sent from my iPhone

         On May 20, 2023, at 2:09 PM, Patrick McGettigan <pmcgettigan@inhousegc.com> wrote:


         Staci:
         Per our phone call late yesterday afternoon, you indicated you had not received
         confirmation from Egger that he was intending to be present for his scheduled deposition
         for Monday, May 22. We agreed to wait until noon today before deciding to mutually
         agree on cancellation. Since you have not confirmed, I take it you have not received
         confirmation. Therefore, I am going to inform the court reporter and others that the
         deposition for Monday will not occur.

         Meanwhile, I am requesting your confirmation and a new date as soon as possible. I am
         available Tuesday or Wednesday.

         And, you should have the documents we have discussed for weeks, assuming you get
         assistance from Taiwan on the password.
         Expert deposition date? June 8?

         Let’s chat on Monday and enter into an agreement for completing discovery by June 30
         due to the communication difficulties in your reaching Lanner in Taiwan. If possible, I
         would like to reach an understanding that works for both of us without involving the Court
         if possible.

         Patrick McGettigan
         Attorney At Law
         2802 Flintrock Trace
         Suite 367
         Austin, Texas 78738

         512-748-8371 cell
         512-727-1879 fax
         www.inhousegc.com


         From: Staci Vetterling <SVetterling@hartlinebarger.com>
         Date: Wednesday, May 17, 2023 at 9:15 AM
         To: "pmcgettigan@inhousegc.com" <pmcgettigan@inhousegc.com>
         Subject: Safety Vision v. LEI

         Patrick,
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Patrick,

As we discussed, I am working with my clients in Taiwan to provide you with additional
documents. I hope to have those to you by the end of the week. I am also working to
confirm depositions as requested.

Thanks,
Staci

Staci Vetterling
Of Counsel
Hartline Barger LLP
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Houston, TX 77056
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F: (713) 951-4124
svetterling@hartlinebarger.com
HartlineBarger.com

<image001.png>
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